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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS

______________________________
                              )
UNITED STATES                 )
                              )
v.                            ) Criminal Case No. 1:19-CR-10459-2
                              )
ESTHER ORTIZ                  )
______________________________)

  MOTION OF DEFENDANT ESTHER ORTIZ FOR LEAVE TO TRAVEL TO
             FLORIDA FROM JUNE 5 TO JUNE 12, 2020

        Now comes Defendant Esther Ortiz and, through her undersigned counsel,

respectfully moves this Honorable Court for leave to travel to Florida for the period of

June 5 to June 12, 2020, so that Ms. Ortiz may attend the wedding of her fiancé’s

daughter. Ms. Ortiz has a home in Connecticut, and she has remained fully compliant

with all pre-trial conditions of release ordered by this Court (Kelley, MJ) on February 14,

2020.

        On February 14, 2020, the United States assented to Ms. Ortiz’ release on

conditions, which this Court (Kelley, MJ) allowed with a condition that Mr. Ortiz remain

in New England. See Docket No. 527. Ms. Ortiz surrendered her passport on that same

day. Ms. Ortiz now seeks leave to travel to Florida from June 5 to June 12, 202, so that

she may attend the June 7, 2020 wedding of her fiancé’s daughter in Clearwater, Florida.

        Ms. Ortiz is being supervised in Connecticut by USPO Jessica Dickson, and,

during a telephone discussion with Ms. Ortiz’ undersigned counsel on May 13, 2020,

USPO Dickson advised she has no objection to this request. The United States, through




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AUSA Philip Mallard, conditionally assents to this motion, as long as USPO Jessica

Dickson raises no ground for objection.

       WHEREFORE, Defendant Esther Ortiz respectfully moves this Honorable Court

for leave to travel to Florida for the period of June 5 to June 12, 2020, so that Ms. Ortiz

may attend the June 7, 2020 wedding of her fiancé’s daughter in Clearwater, Florida.

                                                      Respectfully submitted,
                                                      ESTHER ORTIZ
                                                      By her attorney,

                                                      __/s/ John S. Day____________
                                                      John S. Day (BBO #639249)
                                                      Day Law Firm, P.C.
                                                      33 Railroad Avenue, Suite 4
                                                      Duxbury, MA 02332
                                                      781-789-3001 (telephone)
                                                      617-507-7667 (facsimile)
Date: May 15, 2020                                    jday@daylaw.com (e-mail)

                                   Certificate of Service

    I, John S. Day, hereby certify that, on May 15, 2020, this document was filed through
the ECF system and will be sent electronically to the registered participants as identified
on the Notice of Electronic Filing (“NEF”), and will be sent by electronic mail to USPO
Jessica Dickson.

                                              /s/ John S. Day
                                              _______________
                                              John S. Day, Esq.
                                              BBO No. 639249




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